 4:10-cr-03042-RGK-CRZ         Doc # 39     Filed: 09/14/10    Page 1 of 1 - Page ID # 62




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE D ISTRICT OF N EBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )      Case No. 4:10CR3042
                                                  )
MARCUS ARNETT POLK,                               )
                                                  )
                            Defendant.            )

                                          ORDER

       THIS MATTER comes before the Court on Mr. Polk’s Unopposed Motion to

Continue Trial, filing no. 38, from September 27, 2010, for approximately 30 days. The

Court, being fully advised in the premises, and noting that the government has no objection

to said continuance, finds that said motion should be granted.

       IT IS THEREFORE ORDERED that Mr. Polk’s trial shall be continued until the 15th

day of November, 2010, at 9:00a.m. Mr. Polk is ordered to appear at said time. This Court

further finds that, based upon the showing set forth in Mr. Polk’s motion, the ends of justice

will be served by continuing Mr. Polk’s trial. Further, that taking such action outweighs the

best interests of the public and Mr. Polk in a speedy trial. Accordingly, the time from

today’s date until the date next set for trial shall be excludable time pursuant to 18 U.S.C.

§3161(h)(7)(A).

       Dated this 14th day of September, 2010.

                                                  BY THE COURT:

                                                  s/ Cheryl R. Zwart
                                                  The Honorable Cheryl R. Zwart
                                                  United States Magistrate Judge
